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11

12
                                     UNITED STATES DISTRICT COURT
13
                                    EASTERN DISTRICT OF CALIFORNIA
14
15
     Jose Gonzalez, an individual, on behalf of himself   Case No. 1:16-cv-01891-DAD-JLT
16   and all others similarly situated,                   (Assigned to the Hon. Dale A. Drozd)
17          Plaintiff,                                    Plaintiffs’ Memorandum of Points and
                                                          Authorities in Support of Final Approval of
18
            vs.                                           Class Action Settlement
19
     CoreCivic of Tennessee, LLC (formerly CCA of         Date:      September 28, 2020
20   Tennessee, LLC), and Does 1 through 10,              Time:      1:30 p.m.
     inclusive,                                           Place:     Courtroom 5
21           Defendants.
22   Thomas Richards, individually and on behalf of       Case No. 1:17-CV-01094-LJO-JLT
     all others similarly situated,                       CLASS ACTION
23
            Plaintiff,
24
            v.
25

26   CORECIVIC OF TENNESSEE, LLC,

27          Defendants.

28

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 1
     I.      INTRODUCTION.
 2
              Plaintiffs Jose Gonzalez and Thomas Richards (“Plaintiffs”) seek final approval of this class
 3
     action settlement with Defendant that provides tangible monetary relief to over 1,000 class members
 4
     whose rights under California’s labor laws were violated. Only four class members opted out of the
 5
     settlement (Butler Decl. ¶ 16), and not a single class member objected to the settlement. (Id., ¶ 17.)
 6
              The Court has already preliminarily approved the settlement and, as discussed below, should
 7
     grant final approval of the settlement.
 8
     II.     THIS SETTLEMENT WARRANTS FINAL APPROVAL.
 9
              A proposed class action settlement can be “settled, voluntarily dismissed, or compromised only
10
     with the court’s approval.” (See Fed. R. Civ. Proc. 23(e).) Thus, to approve this proposed class action
11
     settlement, this Court must conclude that the proposed settlement is “fair, adequate and reasonable,”
12
     and is the product of arms-length and informed negotiations. (See In re Heritage Bond Litigation (9th
13
     Cir. 2008) 546 F.3d 667, 674.) According to the Ninth Circuit, “there is a strong judicial policy that
14
     favors settlement, particularly where complex class action litigation is concerned.” (See In re Syncor
15
     ERISA Litigation (9th Cir. 2008) 516 F.3d 1095, 1101 (citing Class Plaintiffs v. City of Seattle (9th Cir.
16
     1992) 955 F.2d 1268, 1276).)
17
             A.     The settlement is fair, adequate, and reasonable.
18
              In determining whether a proposed class action settlement is “fair, reasonable, and adequate,” as
19
     required by Rule 23(e)(2) of the Federal Rules of Civil Procedure, this Court may consider some or all
20
     of the following factors: (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity, and
21
     likely duration of further litigation; (3) the risk of maintaining class action status throughout trial; (4)
22
     the amount offered in settlement; (5) the extent of discovery completed and the stage of the
23
     proceedings; (6) the experience and views of counsel; (7) the presence of a governmental participant; 1
24

25

26   1
       This factor is not addressed because there is no governmental participant. (See, e.g., Wren v. RGIS
     Inventory Specialists (N.D. Cal., Apr. 1, 2011, No. C-06-05778 JCS) 2011 WL 1230826, at
27
     *10, supplemented (N.D. Cal., May 13, 2011, No. C-06-05778 JCS) 2011 WL 1838562 (“Because
28   there is no governmental entity involved in this litigation, the seventh factor is inapplicable”).)

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 1
     and (8) the reaction of the class members to the proposed settlement. (See Rodriguez v. West
 2
     Publishing Corp. (9th Cir. 2009) 563 F.3d 948, 963.) Plaintiffs address each of these factors below.
 3
                           The strength of Plaintiffs’ case
 4
            Although Plaintiffs steadfastly maintain that their claim is meritorious, Plaintiffs appreciate that
 5
     Defendant’s defenses to certification made certification potentially problematic. Despite Defendant’s
 6
     defenses, however, Plaintiffs secured a substantial recovery for the class through this settlement. This
 7
     factor therefore supports final approval. (See Dion-Kindem Decl., ¶ 4.) Indeed, “[i]n most situations,
 8
     unless the settlement is clearly inadequate, its acceptance and approval are preferable to lengthy and
 9
     expensive litigation with uncertain results.” (National Rural Telecommunications Cooperative v.
10
     DIRECTV, Inc. (C.D. Cal. 2004) 221 F.R.D. 523, 526 (internal quotations omitted).)
11

12                         The risk, expense, complexity, and duration of further litigation

13          This settlement avoids the risk of non-recovery and the additional, accompanying expense
14   associated with an appeal if the case was not certified. (In re Portal Software, Inc. Securities
15   Litigation (N.D. Cal., Nov. 26, 2007, No. C-03-5138 VRW) 2007 WL 4171201, at *3 (noting that the
16   “inherent risks of proceeding to summary judgment, trial and appeal also support the settlement”).)
17   Therefore, this factor supports final approval. (See Dion-Kindem Decl., ¶ 5.)
18                         The risk of maintaining class action status
19
            While Plaintiff Gonzalez had filed a motion for class certification, Defendant had not filed
20
     opposition and would have strenuously opposed certification if the case had not settled. Thus, absent
21
     settlement, there was a risk that there would not be a certified class at the time of trial. This factor also
22
     supports final approval. (See Dion-Kindem Decl., ¶ 6.)
23
                           The amount offered in settlement is reasonable given the realistic value of the
24                         claims considering the litigation risks.
25
            As this Court concluded in its preliminary approval order, the settlement agreement’s terms fall
26
     within the range of reasonableness. As detailed in the motion for preliminary approval, this settlement
27
     provides a monetary recovery for the settlement classes in the face of vigorously disputed claims.
28

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 1
     Given the litigation risks involved regarding the merits, Plaintiffs submit that this settlement is squarely
 2
     within the realm of being fair, reasonable, and adequate. (See Dion-Kindem Decl., ¶ 7.) Indeed, “[t]he
 3
     fact that a proposed settlement may only amount to a fraction of the potential recovery does not, in and
 4
     of itself, mean that the proposed settlement is grossly inadequate and should be disapproved.” (Linney
 5
     v. Cellular Alaska Partnership (9th Cir. 1998) 151 F.3d 1234, 1242 (internal quotations omitted).)
 6
                           The discovery completed and the status of proceedings
 7
             Plaintiffs had conducted substantial discovery, including obtaining the production of substantial
 8
     data and other documentation regarding Defendant’s policies and practices. Only class certification and
 9
     damages remained to be determined. Thus, this factor also supports final approval. (See Dion-Kindem
10
     Decl., ¶ 8.)
11

12                         The experience and views of counsel

13           “Parties represented by competent counsel are better positioned than courts to produce a
14   settlement that fairly reflects each party’s expected outcome in litigation.” (In re Pacific Enterprises
15   Securities Litigation (9th Cir. 1995) 47 F.3d 373, 378.) Here, Plaintiffs are represented by competent,
16   experienced, and aggressive class action counsel who pressed Plaintiffs’ claims forward against a large
17   corporate defendant which was represented by a well-qualified law firm. (See Dion-Kindem Decl., ¶ 9.)
18   Consideration of this factor therefore strongly supports final approval. (See, e.g., Gribble v. Cool
19   Transports Inc. (C.D. Cal., Dec. 15, 2008, No. CV 06-04863 GAF SHX) 2008 WL 5281665, at *9
20   (“Great weight is accorded to the recommendation of counsel, who are most likely acquainted with the
21   facts of the underlying litigation.”).)
22                         The reaction of the class members to the proposed settlement
23
             A court may infer that a class action settlement is fair, adequate, and reasonable when few class
24
     members object. (See Marshall v. Holiday Magic, Inc. (9th Cir. 1977) 550 F.2d 1173, 1178.) “[T]he
25
     absence of a large number of objections to a proposed class action settlement raises a strong
26
     presumption that the terms of a proposed class action settlement are favorable to the class members.”
27
     (See National Rural Tele. Coop., supra, 221 F.R.D. at 529.)
28

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 1
            Here, not a single class member filed an objection to the proposed settlement after notice was
 2
     provided to members of the Settlement Class informing them about the terms of the proposed
 3
     settlement, their estimated individual settlement payout and rights under the settlement, the amounts
 4
     sought by Class Counsel in attorneys’ fees and costs, and the amounts sought by the Class
 5
     Representative as an enhancement award. (Butler Decl. ¶ 17.) Moreover, only four class members
 6
     elected to opt-out of this settlement. (Butler Decl. ¶ 16.) Thus, this factor supports final settlement
 7
     approval. (See Dion-Kindem Decl., ¶ 10.)
 8
     III.   THE CLASS CERTIFICATION ENTERED BY THE COURT IN ITS PRELIMINARY APPROVAL ORDER
 9          SHOULD BE MAINTAINED.

10          In its preliminary approval order, this Court preliminarily certified the settlement class for
11   settlement purposes only. The Court found that the Settlement Class met the Rule 23(a) requirements
12   of numerosity, commonality, typicality and adequacy, and satisfied the Rule 23(b)(3) requirements of
13   predominance and superiority. Because circumstances have not changed, and for the reasons set forth
14   in Plaintiffs’ motion for preliminary approval, Plaintiffs request that the Court finally certify the
15   Settlement Class for settlement purposes under Rule 23(e). (See Schiller v. David's Bridal, Inc. (E.D.
16   Cal., June 11, 2012, No. 1:10-CV-00616-AWI) 2012 WL 2117001, at *8, report and recommendation
17   adopted (E.D. Cal., June 28, 2012, No. 1:10-CV-616-AWI-SKO) 2012 WL 13040405 (“As initially
18   determined in the Court’s preliminary approval order and as set forth above, the Rule 23(a)
19   requirements for class certification have been satisfied.”).)
20   IV.    THE COURT-ORDERED NOTICE COMPORTS WITH DUE PROCESS.
21          Due process requires that notice be provided to class members by the best reasonable method
22   available. (See Eisen v. Carlisle and Jacquelin (1974) 417 U.S. 156, 173 [94 S.Ct. 2140, 2150, 40
23   L.Ed.2d 732].) Notice is satisfactory if it “generally describes the terms of the settlement in sufficient
24   detail to alert those with adverse viewpoints to investigate and to come forward and be heard.” (See
25   Churchill Village, L.L.C. v. General Electric (9th Cir. 2004) 361 F.3d 566, 575.) Here, the parties
26   engaged Simpluris, Inc., an experienced third-party settlement administrator, to mail the Class Notice
27

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 1
     and related forms to settlement class members. (Butler Decl., ¶¶ 5-8.) The concurrently-filed
 2
     declaration of Mary Butler details Simpluris’ settlement administration efforts.
 3
             A.     Notice Mailing
 4
              On or about March 27, 2020, Simpluris received the Court-approved Notice and Opt-Out Form
 5
     in Word format from the Parties. The Notice advised Class Members of their right to participate, opt
 6
     out of the Settlement, object to the Settlement, or do nothing, and the implications of each such action.
 7
     The Notice advised Class Members of applicable deadlines and other events, including the date of the
 8
     Final Approval Hearing, and how Class Members could obtain additional information. (Butler Decl., ¶
 9
     5.)
10
              On April 27, 2020, Counsel for Defendant provided Simpluris with a data list containing the
11
     names, Social Security numbers, last known addresses, dates of employment, the name/title of the
12
     Covered Position(s) in which they were employed, the location(s) where they were employed, and the
13
     respective Gross Earnings during the Class Period for each Class Member (“Class List”). The Class
14
     List contained data for one thousand two hundred and three (1,203) individuals identified as Class
15
     Members. (Butler Decl., ¶ 6.)
16
              The mailing addresses contained in the Class List were processed and updated utilizing the
17
     National Change of Address Database (“NCOA”) maintained by the U.S. Postal Service (“USPS). The
18
     NCOA contains changes of addresses filed with the U.S. Postal Service. In the event that any
19
     individual had filed a U.S. Postal Service change of address request, the address listed with the NCOA
20
     was utilized in connection with the mailing of the Notices. (Butler Decl., ¶ 7.)
21
              On May 12, 2020, after updating the mailing addresses through the NCOA, the Notice was
22
     mailed via First Class U.S. Mail to 1,203 individuals identified as Class Members in the Class List.
23
     (Butler Decl., ¶ 8.)
24
              After the initial notice mailing, two individuals contacted Simpluris to request inclusion in the
25
     Settlement Class. Information regarding the self-identifying Class Members was forwarded to Defense
26
     Counsel for research to determine if they should be included in the Settlement Class. It was determined
27

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 1
     that the two individuals should not be included because they did not meet the class criteria. (Butler
 2
     Decl., ¶ 9.)
 3
               As of this date, one hundred twenty-one (121) Notice Packets were returned by the post office.
 4
     For those without a forwarding address, Simpluris performed an advanced address search (i.e. skip
 5
     trace) on all of these addresses by using Accurint, a reputable research tool owned by Lexis-Nexis.
 6
     Simpluris used the Class Member’s name, previous address and Social Security number to locate a
 7
     more current address. One hundred twenty-eight (128) Notice Packets were re-mailed to either a new-
 8
     found address, with forwarding addresses provided by the United States Postal Service or at the request
 9
     of the Class Member. Ultimately, after additional searches, thirteen (13) Notice Packets were
10
     undeliverable because Simpluris was unable to find a better address. (Butler Decl., ¶ 10.)
11
              B.     Settlement Payments
12
               There are 1,199 Participating Class Members who will be paid their portion of the Net
13
     Settlement Amount, estimated to be $2,052,333.00. The Net Settlement Amount available to pay
14
     Participating Class Members was determined as follows:
15
                        Gross Settlement Fund                                  $3,200,000.00
16
                        Less Attorney’s Fees                                  -$1,066,667.00
17

18                      Less Maximum Potential Litigation Costs                   -$40,000.00

19                      Less Settlement Administration Expenses                   -$16,000.00
20
                        Less Maximum Potential Plaintiffs Service Awards          -$25,000.00
21

22                      NET SETTLEMENT FUND                                    $2,052,333.00

23             The estimated minimum Individual Settlement Payments of $25.00 total $764.43. (Butler Decl.,
24   ¶ 12.)
25             The Net Settlement fund for Subclass 1 is $1,250,225.89 with the highest estimated payment
26   being $4,425.64 and the average estimated payment being $1,042.72. (Butler Decl., ¶ 13.)
27

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 1
              The Net Settlement fund for Subclass 2 is $192,231.98 with the highest estimated payment
 2
     being $1,141.98 and the average estimated payment being $160.33. (Butler Decl., ¶ 14.)
 3
              The Net Settlement fund for Subclass 3 is $609,110.71 with the highest estimated payment
 4
     being $2,429.77 and the average estimated payment being $508.02. (Butler Decl., ¶ 15.)
 5
              C.    Requests for Exclusion and Objections
 6
              Simpluris has received four Requests for Exclusion from Class Members. (Butler Decl. ¶ 16.)
 7
              Simpluris has not received any Objections to the Settlement from Class Members. (Butler Decl.
 8
     ¶ 17.)
 9
     V.       CONCLUSION
10
              For the reasons set forth herein, Plaintiff respectfully requests that the Court enter an order
11
     granting final approval.
12
              Dated: August 27, 2020              THE DION-KINDEM LAW FIRM
13

14
15                                                BY: ________________________________
                                                          PETER R. DION-KINDEM, P.C.
16                                                       PETER R. DION-KINDEM
                                                         Attorney for Plaintiff Jose Gonzalez
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